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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

EDUCATION LOGISTICS, INC., a
Montana corporation, and LOGISTICS
MANAGEMENT, INC., a Washington
corporation,

          Plaintiffs,

v.                                                            MISC. ACTION NO. 3- 11-MC-036-L-BD
                                                              (Civil Action No. 07-06-M-DWM
LAIDLAW TRANSIT, INC., a Delaware                             Action pending in: District of Montana,
corporation                                                   Missoula Division)

          Defendant,

v.

TYLER TECHNOLOGIES, INC.,

          Respondent.


                                 Appendix in Support of Joint Status Report


          Plaintiffs Education Logistics, Inc. and Logistics Management, Inc. (collectively,

"Edulog") and Tyler Technologies, Inc. ("Tyler") submit this Appendix to their Joint Status

Report:

Exhibit A   Declaration of Samuel T. Bull in Support of Plaintiffs' Emergency Motion to
            Compel
Exhibit B Declaration of Hien Nguyen in Support of Plaintiffs' Emergency Motion to
            Compel
Exhibit C Declaration of Bill Swendsen in Support of Plaintiffs' Emergency Motion to
            Compel
Exhibit D   Declaration of Alan C. Hess in Support of Plaintiffs' Emergency Motion to
            Compel
Exhibit E   Supplemental Declaration of Hien Nguyen in Support of Plaintiffs'
            Emergency Motion to Compel



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  Exhibit F        Supplemental Declaration of Alan C. Hess in Support of Plaintiffs'
                   Emergency Motion to Compel
  Exhibit G        Declaration of James Guzewich

                                               Respectfully submitted,




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                                               State Bar No. 16551420

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                                    CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served upon

counsel of record via hand delivery on March       , 2011.



                                                    Kim McCrea




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